       Case 1:24-cr-00524-JLR      Document 29      Filed 01/13/25    Page 1 of 1




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January 13, 2025

BY ECF

Hon. Jennifer L. Rochon
U.S. District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

             Re:    United States v. Keith Taylor
                    24-cr-00524 (JLR)

Dear Judge Rochon:

I represent defendant Keith Taylor in the case referenced above and write to advise the
Court that the defense does not intend to file substantive pretrial motions. I also want
to thank the Court for its recent extension of the motions schedule (and counsel for the
Government, who stepped in to contact the Court in my absence), which afforded
counsel time to confer with Mr. Taylor regarding the substantive motions issue.


                                                       Respectfully submitted,

                                                       /s/Brian P. Ketcham
                                                       Brian P. Ketcham



Cc:   AUSAs Rebecca Delfiner and Eli Mark (via ECF)
